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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION



UNITED STATES OF AMERICA

vs.                                               CASE NO.: 1:08cr12-MMP/AK

AMANDA YVONNE WHITE,

           Defendant.
____________________________/

                       ACCEPTANCE OF GUILTY PLEA

      Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there have been no timely objections, and subject to

the Court’s consideration of any Plea Agreement pursuant to Fed. R. Crim. P.

11(e)(2), the plea of guilty of the defendant, AMANDA YVONNE WHITE, to

Count One of the Indictment is hereby ACCEPTED. All parties shall appear

before this Court for sentencing as directed.

      DONE AND ORDERED this 27th day of March, 2009.


                                     s/ Maurice M. Paul
                                  Maurice M. Paul
                                  Senior District Judge
